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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW HAMPSHIRE


MELENDEZ, MICHAEL (Pro Se)

        vs.                                                        CIVIL ACTION NO. 2023-CV-00172SM


UNIVERSITY OF NEW HAMPSHIRE; Et. Al.




                                    AFFIDAVIT OF MICHAEL MELENDEZ

                  IN SUPPORT OF PLAINTIFF’S MOTION TO AMEND ORIGINAL COMPLAINT



        I, Michael Melendez, of full age, hereby state under oath as follows:

1. I am a Pro Se litigant with mailing address: 395 Mendon Road, Apt 12A; North Smithfield, RI 02896.
(915) 490-6715.

2. I submit this Affidavit in support of Plaintiff’s Motion to Amend Original Complaint pursuant to Rule
15 of the Federal Rules of Civil Procedure, in the above-referenced matter.

3. Defendant’s filed a 12(b) Motion to Dismiss on June 16, 2023

4. Pursuant to Rule Local Rule 7.1, All parties have assented/agreed to this motion.

5. The following factual allegations have been added: N/A

6. The following parties have been added:

              6) Defendant Brad Hinton (2 White Street, Concord, NH 03301). At all times relevant

                 hereto, he acted under color of state law. He is sued both in his official and individual

                 capacity.

              7) Defendant Sophie Sparrow (2 White Street, Concord, NH 03301). At all times relevant

                 hereto, she acted under color of state law. She is sued both in her official and individual

                 capacity.
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            8) Defendant Megan Carpenter (2 White Street, Concord, NH 03301). At all times relevant

                 hereto, she acted under color of state law. She is sued both in her official and individual

                 capacity.

            9) Defendant Emily Wilcox (2 White Street, Concord, NH 03301). At all times relevant

                 hereto, she acted under color of state law. She is sued both in her official and individual

                 capacity.

            10) Defendant Rebecca Purdom (2 White Street, Concord, NH 03301). At all times relevant

                 hereto, she acted under color of state law. She is sued both in her official and individual

                 capacity.

7. The following legal claims have been added:

                ALL claims have been revised (Claims 1-6) (Complaint Attached)
                Claims revised to address realized legal claim deficiencies

8.Reaons why the amended information wasn’t on the original complaint:

                Plaintiff is Pro Se and in experienced with the law
                Plaintiff realized additional claims when complaint was further developed
                New information was discovered/occurred
                Complaints were revised to satisfy legal filing deficiencies

9. A copy of this Motion will be sent via e-mail to:

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200 State Street, 11th Floor
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10. I verify that the foregoing is true and correct.
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        I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.



Date: June 23, 2023                                              Signature: /s/ Michael Melendez, pro se
                                                                 Name: Michael Melendez
